Case: 2:14-cv-00208-WOB-JGW Doc #: 1 Filed: 12/12/14 Page: 1 of 4 - Page ID#: 1




                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                 CIVIL NO: _______________

COLETTE RIDGE,                                 Plaintiff


vs.                                                                   COMPLAINT



RIEXINGER & ASSOCIATES, LLC                                    Defendant
Serve: Riexinger & Associates, LLC
4550 River Green Pkwy, Ste 110
Duluth, GA 30096

                                          * * * * * * * *

         NOW COMES Plaintiff, COLETTE RIDGE (“Plaintiff”), by and through her attorneys,

KROHN &MOSS, LTD., and for her Complaint against Defendant, RIEXINGER &

ASSOCIATES, LLC, alleges and affirmatively states as follows:

                                         INTRODUCTION

      1. Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15

         U.S.C. § 1692 et seq. (“FDCPA”).

                                              PARTIES

      2. Plaintiff is an individual who was at all times relevant hereto residing in Union, Boone

         County, Kentucky.

      3. Plaintiff is a consumer as that term is defined by 15 U.S.C. § 1692a(3), and according to

         Defendant, Plaintiff allegedly owes a debt as that term in defined by 15 U.S.C. §

         1692a(5).




                                                   1
Case: 2:14-cv-00208-WOB-JGW Doc #: 1 Filed: 12/12/14 Page: 2 of 4 - Page ID#: 2




  4. Defendant is a debt collector as defined by 15 U.S.C. § 1692a(6), and sought to collect a

      consumer debt from Plaintiff.

  5. Defendant is a debt collection law firm located in Duluth, GA.

  6. Defendant has acted though its agents, employees, officers, members, directors, heirs,

      successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers.

                                JURISDICTION AND VENUE

  7. Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states that such

      actions may be brought and heard before “any appropriate United States district court

      without regard to the amount in controversy.”

  8. Defendant conducts business in the State of Kentucky, and therefore, personal

      jurisdiction is established.

  9. Venue is proper under 28 U.S.C. § 1391(b)(2).

                                     FACTUAL ALLEGATIONS

  11. In or around July 2014, Defendant began placing calls to Plaintiff at 859-866-99XX,

      seeking and demanding payment for an alleged consumer debt.

  12. Plaintiff's alleged debt arises from transactions for personal, family, and household

      purposes.

  13. Defendant places calls to Plaintiff from phone number 800-713-7780.

  14. On or around August 7, 2014, Defendant placed a collection call to Plaintiff.

  15. During the phone conversation on or around August 7, 2014, Plaintiff informed

      Defendant that she has retained attorneys at US Legal Services to represent her regarding

      the underlying debt Defendant was attempting to collect.




                                                2
Case: 2:14-cv-00208-WOB-JGW Doc #: 1 Filed: 12/12/14 Page: 3 of 4 - Page ID#: 3




  16. During the phone conversation on or around August 7, 2014, Plaintiff provided

      Defendant with the contact phone number of 866-583-7130 for US Legal Services.

  17. On or around August 8, 2014, Defendant placed a call to US Legal Services regarding the

      firm’s representation of Plaintiff’s underlying debt. During the phone call, a

      representative with US Legal Services discussed the scope of the firm’s representation of

      Plaintiff and discussed settlement of the underlying debt.

  18. Despite Defendant’s being informed that Plaintiff was represented by an attorney,

      Defendant continued to place collection phone calls to Plaintiff in an attempt to collect

      on or around the following dates: August 7 , 2014; August 12, 2014; August 14, 2014;

      August 18, 2014; August 20, 2014; August 26, 2014; August 28, 2014; and September 3,

      2014.

                               COUNT I
   DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT


  19. Defendant violated the FDCPA. Defendant’s violations include, but are not limited to

      the following:
      a. Defendant violated §1692c(a)(2) of the FDCPA by communicating with the

         consumer after it knows the consumer to be represented by an attorney unless

         attorney consents or is unresponsive




                                                3
Case: 2:14-cv-00208-WOB-JGW Doc #: 1 Filed: 12/12/14 Page: 4 of 4 - Page ID#: 4




                                   PRAYER FOR RELIEF

  WHEREFORE, Plaintiff, COLETTE RIDGE, respectfully requests judgment be entered

  against Defendant, RIEXINGER & ASSOC., LLC, for the following:

  20. Declaratory judgment that Defendant’s conduct violated the Fair Debt Collection

             Practices Act;

  21. Statutory damages pursuant to the Fair Debt Collection Practices Act, 15 U.S.C. §1692k;

  22. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

      15 U.S.C. §1692k;

  23. Any other relief that this Honorable Court deems appropriate.



      Dated: December 12, 2014            KROHN & MOSS, LTD.

                                          By: /s/ Shireen Hormozdi
                                             Shireen Hormozdi
                                             KROHN & MOSS, LTD.
                                             10474 Santa Monica Blvd.Suite 405
                                              Los Angeles, CA 90025
                                              Tel: (323) 988-2400 x 267
                                              Fax: (888) 755-0945
                                              Email: shormozdi@consumerlawcenter.com
                                               Attorney for Plaintiff




                                              4
